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     (916) 442-1932
 4
 5   Attorney for Defendant Derrick Chase
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 7
 8                              UNITED STATES DISTRICT COURT
 9                        FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICIA,                      No. 2:07-cr-0348 FCD
12                              Plaintiff,           STIPULATION AND ORDER
13                     vs.
                                                     Date: January 14, 2008
14   DARRON ANTJUAN REED                             Time: 10:00 a.m.
     and DERRICK CHASE,                              Judge: Hon. Frank C. Damrell, Jr.
15
16                             Defendants. /

17
               IT IS HEREBY STIPULATED by and between the parties hereto through their
18
     respective counsel, Philip Ferrari, Assistant United States Attorney, attorney for Plaintiff;
19
20   Ned Smock, Assistant Federal Defender, attorney for Darron Antjuan Reed; and J. Patrick

21   McCarthy, attorney for Derrick Chase, that the current Status Conference for December 3,
22
     2007 be vacated and a new date of January 14, 2008 at 10:00 a.m. be set for further
23
     status.
24
25             The government has turned over several hundred pages of discovery. Both defense

26   counsel need additional time to further review that discovery and continue with necessary
27   investigation.
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 1          It is further stipulated and agreed between the parties that the period beginning
 2   December 3, 2007 to January 14, 2008, should be excluded in computing the time within
 3
     which the trial of the above criminal prosecution must commence for purposes of the
 4
     Speedy Trial Act for defense preparation. All parties stipulate and agree that this is an
 5
 6   appropriate exclusion of time within the meaning of Title 18, United States Code, Section

 7   3161(h)(8)(iv) (Local Code T4).
 8
     Date: November 28, 2007                   Respectfully submitted,
 9
10                                             /S/
                                               J. PATRICK McCARTHY,
11
                                               Attorney for Defendant Derrick Chase
12
13
                                               /S/ J. Patrick McCarthy for Ned Smock
14
                                               NED SMOCK, Assistant Federal Defender
15                                             Attorney for Defendant Darron Antjuan Reed

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17
                                               McGREGOR W. SCOTT
18                                             United States Attorney
19
20                                             /S/ J. Patrick McCarthy for Philip Ferrari
                                               PHILIP FERRARI, Assistant U.S. Attorney
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23          IT IS SO ORDERED.

24   Dated: November 28, 2007
25
26
                                        _______________________________________
27                                      FRANK C. DAMRELL, JR.
                                        UNITED STATES DISTRICT JUDGE
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